
IN the County Court, Elisha Hall obtained a judgment in an action of debt on a bond against Edwin Conway, but it does not appear that any declaration had ever been filed. An execution issued, and the defendant gave a three months replevy bond, on which a judgment was regularly obtained. The defendant obtained a supersedeas to this last judgment: the District Court seemed to think that there was no error in the last judgment, and were doubtful whether it ought to be reversed on account of the error in the preceding judgment, and adjourned the question. The General Court, November 16,1791, composed of Tyler, Henry, Jones, and Roane, judges, certified the same opinion as was given in the case of Bird’s administrator against Scott, to wit, “ That a subsequent “judgment depending on a prior judgment, (which prior *7judgment is reversed) may be reversed without error “ apparent on the record of such subsequent judgment, “ other than, the connexion between the subsequent and a the prior reversed judgment.”
